                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

SHANNON D. WREN,

               Plaintiff,

               v.                                           CASE NO. 23-3091-JWL

(FNU) (LNU), Highway Patrol
Sergeant, State of Kansas,
Jackson County,

               Defendant.

                                            ORDER

       This matter is a civil rights action filed under 42 U.S.C. § 1983. Plaintiff proceeds pro se

and in forma pauperis.

       The Court has conducted an initial screening of the Complaint and finds a responsive

pleading is necessary. Because Plaintiff is proceeding in forma pauperis, the Clerk of the Court

must undertake service of process under 28 U.S.C. § 1915(d).

       IT IS THEREFORE ORDERED that the Court directs the Clerk of the Court to prepare

and issue a waiver of service form for defendant pursuant to Fed. R. Civ. P. 4(d) to be served

upon defendant at no cost to plaintiff. The Clerk is directed to prepare summons pursuant to

Rule 4(c)(3) of the Federal Rules of Civil Procedure to be served upon the Attorney General for

the State of Kansas.

       IT IS SO ORDERED.

       Dated April 11, 2023, in Kansas City, Kansas.

                                             S/ John W. Lungstrum
                                             JOHN W. LUNGSTRUM
                                             UNITED STATES DISTRICT JUDGE




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